              Case 2:15-cr-00236-JAM Document 116 Filed 12/15/17 Page 1 of 3


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7

8                                    IN THE UNITED STATES DISTRICT COURT
9                                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:15-CR-00236-GEB

12                                     Plaintiff,          STIPULATION AND PROPOSED ORDER
                                                           REGARDING EARLY PRODUCTION OF
13                             v.                          GRAND JURY TESTIMONY

14   NELLI KESOYAN,

15                                     Defendants.

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18                                                   STIPULATION

19          The United States, through Assistant United States Attorneys Nirav K. Desai and Jeremy J.

20   Kelley, and defendant Nelli Kesoyan, through her counsel Alan J. Donato, hereby stipulate to the

21   following:

22          1.       This matter is currently set for trial before this Court on January 23, 2018.

23          2.       To the extent that any of the witnesses who the United States will call in its case-in-chief

24   have previously testified before the Grand Jury regarding the subject-matter of their testimony, the

25   transcripts of their testimony would fall within the provisions of the Jencks Act, 18 U.S.C. § 3500, et

26   seq.

27          3.       In order to facilitate the efficient presentation of evidence by both parties, the parties

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      Stipulation re: Grand Jury Transcripts               1


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              Case 2:15-cr-00236-JAM Document 116 Filed 12/15/17 Page 2 of 3


1    believe it is in the interests of justice to permit early disclosure of any Grand Jury testimony subject to
2    the Jencks Act.
3           4.       Accordingly, the parties hereby agree that pursuant to Rule 6(e)(3)(E)(1) of the Federal
4    Rules of Criminal Procedure and upon order of the Court, a proposed version of which is attached, the
5    United States shall be permitted to produce to counsel for the defendant a copy of any Grand Jury
6    testimony of any witness that the United States intends to call as a witness in its case-in-chief.
7           5.       The parties further agree and stipulate that any such Grand Jury transcripts produced by
8    the United States shall be used only with respect to the above-captioned criminal trial, and counsel for
9    the defendant shall not disclosure or provide copies of such transcripts, or summaries of their contents,
10   to any individuals other than the defendant or any individuals that counsel has retained for the defense in
11   this case. Nothing in this provision limits the ability of counsel to use the transcripts, or portions

12   thereof, in official proceedings before this Court, including trial

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14          IT IS SO STIPULATED.

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16   Dated: December 15, 2017                               PHILLIP A. TALBERT
                                                            United States Attorney
17
                                                            /s/ JEREMY J. KELLEY
18                                                          NIRAV K. DESAI
                                                            JEREMY J. KELLEY
19                                                          Assistant United States Attorneys
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     Dated: December 15, 2017
21                                                          /s/ ALAN J. DONATO
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                                                            ALAN J. DONATO
                                                            For Defendant Nelli Kesoyan
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      Stipulation re: Grand Jury Transcripts               2


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              Case 2:15-cr-00236-JAM Document 116 Filed 12/15/17 Page 3 of 3


1                                                      ORDER
2           This matter came before the Court on the parties’ Stipulation for Early Production of Grand Jury
3    Testimony. For the reasons stated in the Stipulation, and for good cause appearing, the Court HEREBY
4    ORDERS THAT, pursuant to Rule 6(e)(3)(E)(1) of the Federal Rules of Criminal Procedure, the United
5    States is permitted to produce to the defendants copies of the transcripts of any Grand Jury testimony by
6    any witness the United States presently intends to call as a witness at trial.
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8           IT IS SO ORDERED.
9    Dated: December 15, 2017
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      Stipulation re: Grand Jury Transcripts               3


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